
PER CURIAM:
| iDenied. That relator names his filing an application for a writ of habeas corpus does not save him from the time limitations period for applications for post-conviction relief set out in La.C.Cr.P. art. 930.8. See State ex rel. Glover v. State, 93-2330 (La. 9/5/95), 660 So.2d 1189, 1195-96 (distinguishing habeas corpus from post-conviction relief and endorsing La.C.Cr.P. art. 351 and its cmt. (c), which state that “[h]abeas corpus is not the proper procedural device for petitioners who may file applications for post conviction relief;” rather, it “deals with pre-conviction complaints concerning custody”). The application was not timely filed in the district court, and relator fails to carry his burden to show that an exception applies.
Relator has now fully litigated four applications for post-conviction relief in state court. Similar to federal habeas relief, see 28 U.S.C. § 2244, Louisiana post-conviction procedure envisions the filing of a second or successive application only under the narrow circumstances provided in La.C.Cr.P. art. 930.4 and within the limitations period as set out in La.C.Cr.P. art. 930.8. Notably, the Legislature in 2013 La. Acts 251 amended La.C.Cr.P. art. 930.4 to make the procedural bars 12against successive filings mandatory. Relator’s claims have now been fully litigated in state collateral proceedings in accord with La.C.Cr.P. art. 930.6, and this denial is final. Hereafter, unless he can show that one of the narrow exceptions authorizing the filing of a successive application applies, relator has exhausted his right to state collateral review. The District Court is ordered to record a minute entry consistent with this per curiam.
